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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 VICTORIA DIVISION

  In re:                                 §
                                         §
  SCOTT VINCENT VAN DYKE                 §        Case No. 21-60052
                                         §
        Debtor.                          §        Chapter 11 Case
                                         §
  ______________________________________________________________________________

   EVA ENGELHART, CHAPTER 7 TRUSTEE FOR THE BANKRUPTCY ESTATE OF
            ANGLO-DUTCH PETROLEUM INTERNATIONAL, INC.’S
        WITNESS AND EXHIBIT LIST FOR DECEMBER 15, 2021 HEARING

WITNESSES:
1. Jeff Compton (expert);                      Judge: Honorable Christopher M. Lopez
                                                      Courtroom 401
2. Charles E. Graham, III (expert);            Hearing Date: December 15, 2021
3. Scott Van Dyke (fact);
4. Any rebuttal and/or impeachment
   witnesses; and
5. All persons listed on the witness list of   Hearing Time: 1:00 p.m.
   any party.
                                               Parties’ Names: Eva Engelhart, as Chapter 7
                                               Trustee of the estate of Anglo-Dutch Petroleum
                                               International, Inc. (“Chapter 7 Trustee”)

                                               Attorneys’ Names: William Fred Hagans
                                                                  Kendall Montgomery
                                                                  Carl D. Kulhanek, Jr.
                                                                   William R. Greendyke
                                                                  Julie Goodrich Harrison
                                               Attorney’s Phone: (281) 884-9262
                                                                  (713) 651-5151
                                               Nature of Proceeding:
                                               Confirmation Hearing
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EXHIBITS:
Ex.   Description                          Offered   Objection Admitted /     Disposition
                                                               Not Admitted
1.    Declaration and Expert Report of
      Jeffrey A. Compton

2.    August 27, 2021 Order in Case
      No. 4:19-CV-2894; Engelhart v.
      Van Dyke
3.    Deposition Transcript of Scott Van
      Dyke Taken December 9, 2021
4.    Excerpts from Texas Petroleum
      Operations LLC General Ledger
      (Exhibit 12 to Van Dyke
      Deposition)
5.    Order     Releasing Supersedeas
      Deposits from the Court’s Registry
      and Turnover Order in “Case No.
      2004-20712; ADPI v. Greenberg
      Peden; In the 61st Judicial Court
      of Harris County, Texas”
6.    Anglo-Dutch Energy, L.L.C.
      Claims Register
7.    Conclusions of Law in “Case No.
      2004-48332; Smith v. ADPI; In the
      133rd Judicial Court of Harris
      County, Texas”
8.    Order Granting Judgment Creditor
      Gerard J. Swonke’s Motion to
      Contest the Affidavits of Net
      Worth and Motion for Injunction
      in “Case No. 2004-20712; ADPI v.
      Greenberg Peden; In the 61st
      Judicial Court of Harris County,
      Texas”
9.    Transcript of October 12, 2007
      Hearing on Request for Temporary
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      Injunction in “Case No. 2004-
      20712; ADPI v. Greenberg Peden;
      In the 61st Judicial Court of Harris
      County, Texas”
10.   Findings of Fact and Conclusions
      of Law in “Case No. 2004-23845-
      A; Case Funding Network v.
      ADPI; In the 127th Judicial Court
      of Harris County, Texas”
11.   Excerpts from Transcript of
      Hearing on Motion to Modify
      Judgment in “Case No. 2004-
      23845-A; Case Funding Network
      v. ADPI; In the 127th Judicial
      Court of Harris County, Texas”

12.   Final Judgment in Case No. 4:19-
      CV-2894; Engelhart v. Van Dyke

13.   ADPI Settlement with Halliburton

14.   Copy of Ramco v. ADPI Opinion

15.   Excerpts from Scott Van Dyke
      Deposition Taken March 31, 2009
16.   Excerpts from Scott Van Dyke
      Trial Testimony in “Case No.
      2004-23845-A; Case Funding
      Network v. ADPI; In the 127th
      Judicial Court of Harris County,
      Texas”
17.   Final Judgment in “Case No.
      2004-48332; Smith v. ADPI; In the
      133rd Judicial Court of Harris
      County, Texas”
18.   Summary Judgment in “Case No.
      2004-2004-60996;         Littlemill
      Limited v. Van Dyke; In the 152nd
      Judicial Court of Harris County,
      Texas”
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19.   Final Judgment in “Case No.
      2004-2004-60996;         Littlemill
      Limited v. Van Dyke; In the 152nd
      Judicial Court of Harris County,
      Texas”
20.   Final Judgment in “Case No.
      2004-23845-A; Case Funding
      Network v. ADPI; In the 127th
      Judicial Court of Harris County,
      Texas”
21.   Copy of ADPI v. Haskell Opinion
22.   Final Judgment in “Case No.
      2004-20712; ADPI v. Greenberg
      Peden; In the 61st Judicial Court
      of Harris County, Texas”
23.   Final Judgment in “Case No.
      2011-54019; Noel v. Van Dyke; In
      the 113th Judicial Court of Harris
      County, Texas”
24.   Final Judgment in “Case No.
      2018-34037; ADPI v. Greenberg
      Peden; In the 127th Judicial Court
      of Harris County, Texas”

25.   Copy of Gladney v. ADE Opinion
26.   Copy of ADE v. Crawford Hughes
      Opinion

27.   Email from Barnes to McMahon
      Dated February 20, 2021
28.   Email from McMahon to Barber
      Dated August 9, 2019
29.   Email from McMahon to Van
      Dyke Dated October 2, 2019
30.   Email from McMahon to Van
      Dyke Dated October 28, 2019
31.   Email from McMahon to Van
      Dyke Dated September 17, 2019
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32.   Affidavit of Scott Van Dyke
      Signed February 19, 2021
33.   Scott Van Dyke’s Plan          of
      Reorganization [Dkt. No. 66]
34.   Scott Van Dyke’s Amended Plan
      of Reorganization [Dkt. No. 86]
35.   Amended Notice of Rule 2004
      Examination [Dkt. No. 79]
36.   Frost Bank Statement dated 9-24-
      2020 (Exhibit 2 to Van Dyke
      Deposition)

37.   Frost Bank statement dated 1-27-
      21 (Exhibit 3 to Van Dyke
      Deposition)
38.   Frost Bank statement dated 2-24-
      21 (Exhibit 4 to Van Dyke
      Deposition)
39.   Adams Prospect, Texas Gulf
      Coast, November 2021 (Exhibit 5
      to Van Dyke Deposition)
40.   Affidavit of Scott V. Van Dyke
      (Exhibit    7  to   Van Dyke
      Deposition)
41.   First Amendment to Revolver
      Loan Agreement and Options to
      Forgive Dept and Purchase Assets
      Between Trepador Energy LLC
      and Anglo-Dutch Energy LLC and
      Scott V. Van Dyke (Exhibit 8 to
      Van Dyke Deposition)
42.   Before Closing diagram re Steven
      J. Borick Revocable Trust (Exhibit
      9 to Van Dyke Deposition)
43.   Partnership Interest Purchase
      Agreement (Exhibit 10 to Van
      Dyke Deposition)
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  44.    E-mail dated 1-14-20 from Jett
         Williams to Mike Seely, et al., re:
         ADE-Noel (Exhibit 11 to Van
         Dyke Deposition)

  45.    Adams Prospect Input Pages
  46.    Adams Prospect Economic Inputs
  47.    Analog Production Analysis
  48.    Adams    Prospect         Economic
         Summary Projections
  49.    Additional   Adams         Prospect
         Economic Projections
  50.    Adams Prospect Cost Information
  51.    Any exhibit identified or admitted
         by any other party
  52.    Any rebuttal or impeachment
         exhibits

        The Trustee reserves (i) the right to amend and/or supplement this Witness and Exhibit

List at any time prior to the hearing; and (ii) the right to use additional exhibits for purposes of

rebuttal or impeachment and to further supplement the foregoing Witness and Exhibit List as

appropriate. The Trustee also reserves the right to rely upon and use as evidence (i) exhibits

included on the exhibit lists of any other parties in interest, and (ii) any pleading, hearing

transcript, or other document filed with the Court in the above-captioned matter.
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Dated: December 13, 2021.                    Respectfully submitted,
       Houston, Texas

                                             HAGANS MONTGOMERY & RUSTAY, P.C.

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                                             - and -
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                                             ATTORNEYS FOR EVA ENGELHART,
                                             CHAPTER 7 TRUSTEE OF THE
                                             BANKRUPTCY ESTATE OF ANGLO-DUTCH
                                             PETROLEUM INTERNATIONAL, INC.


                               CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing
document was served upon the counsel and parties of record, electronically through the
Bankruptcy Court’s Electronic Case Filing System on those parties that have consented to such
service on the 13th day of December, 2021.

                                                   /s/ Julie Harrison
                                                       Julie Harrison
